USDC IN/ND case 2:22-cv-00118-TLS-JEM             document 140       filed 03/06/24     page 1 of 29




                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

     BRIAN VUKADINOVICH,                          )
                                                  )
                   Plaintiff,                     )
                                                  )
            V.                                    )       CASE NO. 2:22-CV-0118-TLS-JEM
                                                  )
                                                  )
     RICHARD A POSNER,                            )
                                                  )
                   Defendant.                     )


            MEMORANDUM RESPONSE IN OPPOSITION TO DEFENDANT'S
            MOTION FOR RULE 11 SANCTIONS AGAINST PLAINTIFF

            Plaintiff, Brian Vukadinovich, pro se, submits this memorandum response in

     opposition to Defendant's motion for Rule 11 sanctions against Plaintiff as Defendant's

     motion has no merit and should be summarily overruled and denied.

            I. DEFENDANT'S MOTION FOR SANCTIONS AGAINST PLAINTIFF
               IS A PRETEXT FOR HIS LAWYERS' RETALIATORY CONDUCT
               AGAIN.ST PLAINTIFF FOR FILING A MOTION FOR SANCTIONS
               AGAINST JUSTIN M. ELLIS FOR HIS CRIME OF PERJURY

                    A. Defend ant Seeks to Punish Plaintiff for His
                       Exercise of His First Amendment Rights

            Defendant has loaded up a basket of rotten eggs in repeatedly trying to make hay

     out of Defendant's alleged Alzheimer's, something that there is absolutely no evidence of

     anywhere in this litigation, other than self serving statements by lawyers and even a

     confederate lawyer, Sakina Carbide, recently recruited by Defendant's lawyers to aid and

     abet Defendant's and his lawyers repeated fraudulent statements and repeated fraudulent


                                                  1
                                        \
USDC IN/ND case 2:22-cv-00118-TLS-JEM                  document 140          filed 03/06/24       page 2 of 29




     arguments in this litigation. 1

             The theme of.Defendant's motion is many, one theme is (unproven) Alzheimer's,

     another theme is attacking Plaintiffs Pro Se history 2 and another theme is· attacking

     Plaintiffs free speech rights by criticizing Plaintiff for writing books, 3 for writing blog


     1
       Sakina Carbide is a Chicago lawyer recruited by Defendant's lawyers to submit an affidavit to
     support Defendant's lies and fraudulent arguments in this litigation. Unfortunately for Defendant
     and his lawyers, Carbide's submitted lies within this litigation entitles her to serial liar category
     since an Illinois trial court and Illinois court of appeals previously determined that Carbide's
     affidavit and testimony is unworthy ofbeliefln re Marriage ofNimisha R. Christian, Petitioner-
     Appellee, and Roosevelt Christian, Respondent-Appellee (Sakina Carbide, Appellant), No. 1-18-
     0418, the Illinois Court of Appeals, in addressing Sakina Carbide's credibility wrote 'Carbide's
     reliance on her own affidavit, attesting to her own "interpretation of the evidence and
     memory as to what happened," is not well taken.' htt_ps://casetext.com/case/in-re-marriage-of-
     christian-1. [emphasis added]. This was a case where Carbide tried to fleece a person to the tune
     of $1777,250 at a rate of $400 an hour. After an evidentiary hearing, the Illinois trial court
     concluded that Carbide's affidavit and testimony were unworthy and the comt rnled that Carbide
     should receive no money from her claims after hearing and considering her testimony. It should
     be noted that Carbide's lies via the so called "Declaration of Sakina Carbide" '\y'as signed on
     December 31, 2023 just four days after Plaintiff filed his motion for sanctions for perjury on
     December 27, 2023, as to the crime of perjury committed by Defendant's attorney, Justin M.
     Ellis. (Docket #94). To say that Sakina Carbide and Justin M. Ellis were in cahoots with this
     would be an understatement.

     2
       Defendant tries to make hay out of Plaintiff prose case Vukadinovich v. Griffith Public Schools,
      et al., No. 2:02-cv-472 (N.D. Ind. 2008) and Vukadinovich v. Hanover Community School
      Corporation, No. 2:13-cv-144), but what Defendant does not state is that Plaintiff ultimately
      prevailed in both of these cases, in Vukadinovich v. Griffith, the Defendants paid Plaintiff the sum
      of $100,000 after Plaintiff submitted damning evidence of discrimination, in Vukadinovich v.
      Hanover Community School Corporation, Plaintiff represented himself in a five day jury trial in
      March 2016 and Plaintiff prevailed there as well as the jury awarded Plaintiff the sum of
      $203,840.39. https://casetext.com/case/vukadinovich-v-hanover-cmty-sch-corp-3, •
     •https://www.chicagotribune.com/2016/03/31/no-attorney-no-problem-wheatfield-man-wins-suit-
      against-hanover-schools/, Pro Se Litigant Brian Vukadinovich Wins in Federal Court,
      https://vimeo.com/268683488.
     3
       In item no. 8 to "Index of Exhibits to Defendant's Motion for Sanctions" Defendant states
     "Exhibit H to the Ellis Declaration is a collection of exemplary posts on X in which Plaintiff
     publicizes his book titled Rogues in Black Robes or related interviews. (Docket# 129-1, page 2).
     In the "Declaration of Justin M. Ellis in Support of Defendant's Motion for Sanctions", Ellis
     states at item no. 9 "Attached as Exhibit H to this Declaration are trne and accurate copies of
     exemplary posts on X in which Plaintiff publicizes his book Rogues in Black Robes or related
     interviews." (Docket #129-2, page 2).
                                                       2
USDC IN/ND case 2:22-cv-00118-TLS-JEM               document 140        filed 03/06/24        page 3 of 29




     posts, for posting on X (formerly Twitter), and for offering paid speeches on litigation

     issues. (Docket #86, page 6). Defendant has critically stated in this litigation "Plaintiff

     has posted hundreds of times on social media about this case." (Docket #117-2, page 3).

     Defendant has filed screenshots of212 postings of Plaintiff's postings on X (forIJ?-erly

     Twitter). (Docket #117-5, pages 2-213).

            It couldn't be more apparent that Defendant's motion for sanctions against

     Plaintiff is a pretext as the motion is predicated in large part because of Plaintiffs

     exercise of his First Amendment rights to free speech. It couldn't be. more apparent

     because Defendant and his attorneys have expressly shown their disdain for Plaintiffs

     exercising his First Amendment rights directly in the materials in support of their motion.

     This demonstrates that Defendant's motion was brought for the ulterior motive of

     punishing Plaintiff for exercising his First Amendment rights, whether his speech be

     about his books or his interviews even about this case, and for this, this Court should be

     very concerned and should deny Defendant's motions for sanctions against Plaintiff as

     Defendant's actions are a clear abuse ofRule 11. The Supreme Court of the United

     States has made it crystal clear that truthful reports of public judicial proceedings have

     been afforded special protection against subsequent punishment. Nebraska Press Ass'n

     v. Stuart, 427 U.S. 539 (1976) see Cox Broadcasting Corp. v. Cohn, 420 U.S. 469,420

     U.S. 492-493 (1975) see also Craig v. Harney, 331 U.S. 367, 331 U.S. 374 (1947). The

     Supreme Court made clear "With respect to judicial proceedings, in particular, the

     function of the press serves to guarantee the fairness of trials and to bring to bear the



                                                   3
USDC IN/ND case 2:22-cv-00118-TLS-JEM                 document 140         filed 03/06/24       page 4 of 29




     beneficial effects of public scrutiny upon the administration of justice." Cox

     Broadcasting Corp. v. Cohn, 420 U.S. 469 (1975), see Sheppardv. Maxwell, 384 U.S.

     333, 384, U.S. 350 (1966). 4

             B. Defendant's Motion for Sanctions Against Plaintiff is a Retaliatory
                Act Because of Plaintiff's Motion for Sanctions Against Justin M. Ellis
                for His Crime of Periury Under 18 U.S.C. § 1621

             It couldn't be more apparent that Defendant's motion for sanctions against

     Plaintiff is a pretext for his actual reason of Plaintiffs taking Defendant's attorney, Justin

     M. Ellis, to task for his crime of perjury for lying on an affidavit under penalty of perjury

     falsely stating that "Plaintiff's last email to Defendant was on May 21, 2019, two

     months before his job supposedly ended. Ellis Deel. 115-6." (Docket# 86, page 3).

     [emphasis added].     Plaintiff demonstrated to this Court that Justin M. Ellis' statement

     was a lie when Plaintiff submitted to this Court at the December 14, 2023 Preliminary

     Pretrial Conference a copy of an email that Plaintiff sent to Defendant on November 11,




     4
       Defendant and his lawyers throughout their memorandum of law in support of their infected
     motion for sanctions criticize Plaintiff for his First Amendment activities. For example, at page 4
     of Defendant's memorandum oflaw Defendant states 'On his website, he holds himself out as
     "the leading pro se litigant in the country" and the "foremost expert in the country in the art of
     prose litigation." About Brian, https://bit.ly/4b3tCW4. He touts that "expertise" to sell books,
     make paid speaking appearances, and publicize his decades-long campaign against the federal
     judiciary. See, e.g. id. (linking to Amazon): https://bit.ly/47sABVS (offering paid speeches).
     Defendant even wrote the foreword to Plaintiff's first book Motion for Justice: I Rest My Case.
                                                                    a
     (See attached Plaintiff's Exhibit 1). Citing this information in Rule 11 matter is clear evidence
     of Defendant's abuse of Rule 11 showing Defendant's ulterior motive in wrongfully attempting to
     punish Plaintiff by using the pretext of the Alzheimer's situation as a pretextual basis. Rule 11
     cannot be applied against a plaintiff for having a website, for selling books or for making paid
     speaking appearances. Defendant's abuse of Rule 11 and his ulterior motive couldn't be more
     obvious.

                                                      4
USDC IN/ND case 2:22-cv-00118-TLS-JEM                   document 140          filed 03/06/24       page 5 of 29




     2020, requesting payment for his services of which email demonstrated Defendant's

     misrepresentation to this Court. 5

             And then two just two weeks later after Plaintiff submitted tangible evidence to

     this Court of Justin M. Ellis' lie, Justin M. Ellis sent a letter to Plaintiff threatening that if

     Plaintiff did not "promptly" withdraw the motion for sanctions against Justin M. Ellis that

     "Defendant will move for the Court to impose all available sanctions under Rule 11 and

     the Court's inherent authority -     including monetary sanctions, and award of all available

     costs, under the relevant rules and statutes, an order entering judgment against you, and an

     order barring you from filing further litigation." (Docket #131-1, page 9). 6

             It is very obvious that Justin M. Ellis is abusing Rule 11 in order to wrongfully

     punish Plaintiff for exercising his entitled rights in this litigation. Plaintiff submitted

     tangible evidence to this Court that the statement by Justin M. Ellis as submitted to this

     Court under penalty of perjury stating "Plaintiffs last email to Defendant was on May

     21, 2019, two months before his job supposedly ended. Ellis Deel. ,r,r 5-6." Was in fact a

     FALSE statement. It is more than obvious that the threat Justin M. Ellis made to



     5
      The November 11, 2020 email was admitted as Exhibits A and A-1. (Docket #90). In
     desperation Justin M. Ellis tries to downplay the email by ridiculously questioning its
     "authenticity", but yet Ellis has not questioned a single other emails authenticity, the only email
     he questions is the one that proves his crime of perjury.
     6
       Justin M. Ellis sent yet another threatening letter to Plaintiff on January 3, 2024, wherein he
     stated his discomfort with his perjury and again threatened that "Defendant will move for the
     Court to impose all available sanctions under Rule 11 and the Court's inherent authority-
     including monetary sanctions, and award of all available costs under the relevant rules and
     statutes, an order entering judgment against you, and an order barring you from filing further
     litigation."


                                                       5
USDC IN/ND case 2:22-cv-00118-TLS-JEM                 document 140      filed 03/06/24      page 6 of 29




    Plaintiff two weeks after Plaintiff submitted tangible evidence of Just M. Ellis' crime of

    perjury was indeed retaliation against Plaintiff for taking formal action against Justin M.

    Ellis for his crime of perjury. In addition to being a federal crime under 18 U.S.C. § 1621,

    Justin M. Ellis' perjury was also a violation of the Model Rules of Professional Conduct

    of the American Bar Association and also Rule 11 of the Federal Rules of Civil

    Procedure, and his conduct of retaliating against Plaintiff with a motion for sanctions

    against Plaintiff is an additional violation of the Model Rules of Professional Conduct.

    Preamble [3] the Model Rules of Professional Conduct of the American Bar Association

    states in relevant part " ... a lawyer who commits fraud in the conduct of a business is

    subject to discipline for engaging in conduct involving dishonesty, fraud, deceit or

    misrepresentation." Preamble [5] states in relevant part" .. .A lawyer should use the

    law's procedures only for legitimate purposes and not to harass or intimidate

    others ... " [emphasis added]. Rules 8.4(b)(c)(d) of the Model Rules of Professional

    Conduct of the American Bar Association respectively state that it is professional

    misconduct for a lawyer to: (b) commit a criminal act that reflects adversely on the

    lawyer's honesty, trustworthiness or fitness as a lawyer in other respects; (c) engage in

    conduct involving dishonesty, fraud, deceit or misrepresentation; ( d) engage in conduct

    that is prejudicial to the administration of justice. Rule 11 of the Federal Rules of Civil

    Procedure provides that if an attorney files pleadings that are not reasonably based on the

    law or in fact, or that are meant to harass, then "the court upon motion or upon its own

    initiative, shall impose ... an appropriate sanction. 11 F ed.R. Civ.P. 11. (emphasis

    added); see Robinson v. National Cash Register Co., 808 F.2d 1119, 1130, (5th Cir.

                                                  6
USDC IN/ND case 2:22-cv-00118-TLS-JEM              document 140        filed 03/06/24       page 7 of 29




    1987). If the district court concludes that the motion, pleading, or other document was not

    well-grounded in fact or warranted by the existing law, or was meant to harass, then the

    court must impose a sanction. See, e.g., Szabo Food Service, Inc. v. Canteen Corp., 823

    F.2d. 1073, 1082 (7th Cir. 1987); Thomas v. Capital Security Services, Inc.,812 F.2d 984,

    989, (5th Cir. 1987); Shrock v. Altru Nurses Registry, 810 F.2d 658, 661 (7th Cir.

    1987); Golden Eagle Distrib. Corp. v. Burroughs Corp., 801 F.2d 1531, 1540, (9th Cir.

    1986) (citing Eastway Construction Corp. v. City ofNew York, 762 F.2d 243,254, n. 7

    (2d Cir. 1985)); cf In re TCI Ltd, 769 F.2d 441, 446, (7th Cir. 1985)).

           Defendant and Justin M. Ellis hardly have standing to whip up a bunch of creative

    lies and fraudulent representations and fraudulent arguments in order to wrongfully

    sanction Plaintiff because Plaintiff is exercising his fundamental rights to obtain justice in

    this litigation, and because Plaintiff provided this Court with tangible evidence of Justin

    M. Ellis' crime of perjury. It is actually the Defendant and his attorneys, and certainly

    Justin M. Ellis, who should be sanctioned for their tactics of threatening Plaintiff and

    attempting to coerce Plaintiff into withdrawing the motion for sanctions against Justin M.

    Ellis for his perjury while using [abusing] Rule 11. Abuse of process occurs when a

    person "uses a legal process, whether criminal or civil, against another primarily to

    accomplish a purpose for which it is not designed. Brownswell v. Klawitter, 306 N.W.2d

    41, 44 (Wis 1981) (quoting Restatement (Second) of Torts§ 682 (ALI 1977). This is

    exactly what happened here as Defendant's action clearly has an ulterior motive in

    suppressing Plaintiffs free speech rights and ulterior motive of suppressing Plaintiffs



                                                  7
USDC IN/ND case 2:22-cv-00118-TLS-JEM                 document 140        filed 03/06/24      page 8 of 29




     constitutionally protected right to seek remedy for damages from Defendant's breach of

    the contract. 7

         Il. THE MOTION FOR SANCTIONS IS A PRETEXT FOR COVER FOR
             DEFENDANT'S DOCUMENTED LIES AND MISREPRESENTATIONS
             IN THIS LITIGATION AS ADDRESSED BY PLAINTIFF

                      A. The Issue of Unconfirmed Alleged Alzheimer's

            Defendant and his lawyers have a very distasteful appetite for inappropriately

     calling Plaintiff a "liar" in trying to create a self serving and false scenario that Plaintiff

     somehow "knew" that Defendant had Alzheimer's when in fact because there has never

    been any verifiable evidence whatsoever shown to Plaintiff that Defendant at the time of

     any of Plaintiffs statements had Alzheimer's. (See Affidavit of Brian Vukadinovich

     contemporaneously filed with this memorandum response). Defendant's and his lawyers'

    fraudulent arguments in support of their infected Rule 11 motion for sanctions are so

    telling that Defendant and his lawyers have just recently taken issue with the statement

     made by Defendant's own family lawyer who in fact stated to Plaintiff in a letter dated

    February 28, 2022, "What you clearly do not know is that, soon after your conversations

    with Judge Posner in early 2018, he received a confirmed diagnosis of Alzheimer's

    Disease." and further stated "As to the substance of your claim, we believe that medical

     evidence will show that the Judge did not have the legal capacity to enter into contracts in


    7
      The Notes of Advisory Committee on Rules - 1993 Amendment makes clear that Rule 11
    motions should not be prepared to "emphasize the merits of a party's position" or ''to intimidate
    an adversary into withdrawing contentions that are fairly debatable,". The Notes of Advisory
    Committee on Rules - 1993 Amendment further guides that "the filing of a motion for sanctions
    is itself subject to the requirements of the rule and can lead to sanctions." This Court should
    strongly consider sanctioning the Defendant and his attorneys for this vexatious conduct.

                                                     8
USDC IN/ND case 2:22-cv-00118-TLS-JEM             document 140       filed 03/06/24       page 9 of 29




    2018." (Docket #30, Exhibit 2). Because this very telling statement shuts the door on

    Defendant's and his lawyers' desperate attempt to label Plaintiff as lying as to what he

    knew about Defendant's alleged Alzheimer's in order to advance their infected motion

    for Rule 11 sanctions, Defendant and his lawyers now pitifully argue that "Plaintiffs

    reliance on a 2022 quote from Defendant's family lawyer, who did not know the parties'

    history, Obj.9, is misleading." (Docket #118, page 9). This Court should not take well to

    such skullduggery.

            The statements by Plaintiff that are being referred to by Defendant regarding

    Alzheimer's were made in the context that Plaintiff was not aware of any confirmed

    evidence of Defendant's alleged Alzheimer's, something that even Defendant's family

    attorney, Robert W. Kaufman, explicitly acknowledged to Plaintiff in a letter dated

    February 28, 2022, that Plaintiff never knew of any "confirmed diagnosis" of

    Alzheimer's Disease upon the Defendant when attorney Robert W. Kaufman explicitly

     stated to Plaintiff "What you clearly do not know is that, soon after your

    conversations with Judge Posner in early 2018, he received a confirmed diagnosis of

    Alzheimer's Disease", (Docket #30, Exhibit 2). It is interesting that when the

    Defendant's own lawyer, his previous lawyer, documented the fact that Plaintiff "clearly"

     did not know of Defendant's "confirmed" diagnosis of Alzheimer's, that now suddenly

    Defendant's current lawyers pathetically attempt to argue that Defendant's family lawyer,

    who the family retained to respond to Plaintiff, did not know his client's "history". What

    we have here now is Defendant's previous attorney saying one thing, and Defendant's



                                                 9
USDC IN/ND case 2:22-cv-00118-TLS-JEM                   document 140          filed 03/06/24      page 10 of
                                                      29




    current attorneys saying quite another. Defendant's argument has zero credibility. After

    all, if Defendant's own family attorney doesn't know the facts of Defendant's

    Alzheimer's, then how could Plaintiff be expected to know it under the circumstances of

    so much mixed information on the issue? 8

              In Defendant's obvious attempt to deflect attention away from Justin M. Ellis'

    crime of perjury in this litigation. It does not take a rocket scientist to figure out that

    Justin M. Ellis, through desperation, is trying to make hay out of the issue of when

   Plaintiff actually knew about the alleged disease. However, when Plaintiff actually knew

    about the alleged disease is not even relevant to the issues of this litigation. The legal

    issue isn't when Plaintiff actually knew about the alleged disease, the legal issue is the

    Defendant's action of breaching the contract. 9 It should be noted that at no time, prior to

    or during this litigation has Defendant provided Plaintiff with any evidence of confirmed

    Alzheimer's. 10


    8
     It should be further noted that Defendant's wife, stated in a May 8, 2022 email to Plaintiff in
    referring to Defendant's health issues "I am very sorry that you have found yourself in this
    unpleasant situation." and further stated "I am really sorry that you were so misled." (Docket
    #30, Exhibit 3). Thus, it is more than clear that Plaintiff never knew that there was a
    confirmation of alleged Alzheimer's; Defendant's own lawyer, Robert W. Kaufman explicitly
    stated so, and Defendant's wife verified that Plaintiff was "so misled" about it.
    9
        In Market Street Associates Limited Partnership v. Frey, 941 F.2d 588 (7th Cir. 1991), a contract
    case, The Seventh Circuit ultimately ruled "To decide what Orenstein believed, a trial is
    necessary. The author of that opinion was Richard A. Posner. In light of the case law from
    Defendant Posner's own precedential ruling, so too is "a trial necessary here" in this contract
    case. Since the Defendant, Richard A. Posner, wrote the opinion in Market Street Associate, Id.,
    he should certainly have no quarrel with this Court doing exactly what he said should be done in
    his ruling in Market Street, Id
    10 The letter by Defendant's prior attorney, Robert W. Kaufman, stated "As to the substance of

    your claim, we believe that medical evidence will show that the Judge did not have the legal
    capacity to enter into contracts in 2018." To date Defendant has failed to produce any evidence
                                                      10
USDC IN/ND case 2:22-cv-00118-TLS-JEM                document 140          filed 03/06/24      page 11 of
                                                   29




                ID. DEFENDANT'S RECRUITMENT OF SAKINA CARBIDE

                      A. Carbide's Credibility Has Already Been Determined
                         by the Illinois Courts to Be Virtually Non existent

            In desperately attempting to portray Plaintiff as a liar, when all else failed,

    Defendant and his lawyers went for bust and recruited a confederate, Sakina Carbide, to

    provide them with an affidavit of lies within which to assist them with their skullduggery.

    The affidavit styled as "Declaration of Sakina Carbide" was filed in this Court by

    Defendant on February 16, 2024. (Docket #131-90). The confederate, Sakina Carbide,

    who is no stranger to providing false information in a legal proceeding, came through in

    signing an affidavit for Defendant and his lawyers replete with lies, but unfortunately for

    Defendant and his lawyers, Sakina Carbide has already been deemed as~ person (lawyer)

    lacking credibility when it comes to providing the truth on affidavits and testifying about

    questionable affidavit statements that she provided in a court of law. In an Opinion

    issued by the Illinois Court of Appeals on May 20, 2020, In re Marriage ofNimisha R.

    Christian, Petitioner-Appellee, and Roosevelt Christian, Respondent-Appellee (Sakina

    Carbide, Appellant), No. 1-18-0418, the Illinois Court of Appeals, in addressing Sak:ina

    Carbide's credibility as to her own affidavit wrote 'Carbide's reliance on her own

    affidavit, attesting to her own "interpretation of the evidence and memory as to what

    happened," is not well taken.' https://casetext.com/case/in-re-marriage-of-christian-1.


    whatsoever of a confirmed diagnosis of Alzheimer's, and yet Defendant's attorney tries to score
    points by attacking Plaintiff's knowledge of Defendant's alleged Alzheimer's while at the same
    time failing to provide any medical evidence of it, notwithstanding the statement by Defendant's
    prior attorney. Because Defendant's prior attorney stated that the "medical evidence" goes to the
    "substance" of Plaintiff's claim, then that "medical evidence" needs to be brought to light.

                                                    11
USDC IN/ND case 2:22-cv-00118-TLS-JEM                      document 140             filed 03/06/24        page 12 of
                                                         29




             Sakina Carbide unsuccessfully sued a person who could not understand the

   English language well, nor able to speak fluent English, for attorney's fees of $177,250 at

    a rate of $400 per hour, and after an intense evidentiary hearing, her testimony and

    submitted affidavits was found not to be credible as the Illinois trial court and appellate

   court ruled against her in every way. When Sakina Carbide was taken to task regarding

   time entries on her time sheet records, Carbide stated that her records are "written

    contemporaneously with the work," but that they are "not inputted by [Carbide]." When

    confronted with this, Carbide stated that sometimes her "writing is not exactly clear" and

   that "it could be a mistake both by her staff and by [Carbide] in [her] review." The list

    goes on to the point that the Illinois Court of Appeals wrote "Carbide claims to challenge

    many of the trial court's actions, however, she merely lists most of the alleged errors and

   fails to provide adequate argument, and/or citations to authority, in support of any of

   those claims." The Illinois Court of Appeals noted that the trial court conducted an

    evidentiary hearing regarding an issue as to whether Carbide and petitioner had entered

    into a written agreement as Carbide claimed, and after the evidentiary hearing the trial

    court concluded "based on the credibility of the witnesses, that Carbide failed to establish

    the existence of such an agreement, and denied her petition for fees." 11

             When it came time to come clean as to what Carbide purported on her petition for

    fees, when Carbide was questioned about the fact that the petition for fees stated that

    petitioner had not paid anything to Carbide, when Carbide contrarily testified at the


    11
       Plaintiff has contemporaneously filed with this response a motion and supporting memorandum of law
    for an evidentiary hearing as to the statements made by Sakina Carbide in her "Declaration" as filed in this
    litigation for Carbide to be ordered into Court to take the witness stand and answer questions under oath.
                                                         12
USDC IN/ND case 2:22-cv-00118-TLS-JEM               document 140        filed 03/06/24      page 13 of
                                                  29




    hearing that petitioner paid $3,000, Carbide stated that the "petition is incorrect as to

    costs and, yes, she had paid a total of $3000." When counsel further questioned Carbide

    about why her petition for fees requested fees in the amount of $74,400, when Carbide

    subsequently claimed fees based on invoices in the amount of $177,000, and when

    Carbide was asked how she calculated the total fees, Carbide responded that some files,

   including some of petitioner's records, "were stolen from her office, and that "a lot of

    [Carbide's] records did not exist in [Carbide's] office when [she] prepared [her] petition

   for attorney's fees." When Carbide was asked to explain the differences in the total listed

   in her fee petition and the subsequent invoice amount, Carbide stated "it could have been

   that I added it up wrong. When I broke it down, my math could be off, but I stand by my

   invoice, that that is exactly what the representation was in the case." When push came to

    shove and Carbide obviously realized that she was in a bad place with her lies, Carbide

   testified "I stand by my testimony that some of my dates might be incorrect." and further

    stated "if the invoicing amount is higher than the amount that I pied in my petition, I will

    stand by my word on the petition and I will not seek the differential in those in that

    mathematics because if it's my mistake, I will take responsibility for it."

           Sakina Carbide did not do so well with the affidavit situation that was addressed

   in her losing appeal before the Illinois Court of Appeals when she attempted to remedy a

    portion of the missing transcripts by including a "bystander's affidavit" in which she

    personally swore to the content of testimony provided by one of the other witnesses who

   testified during the evidentiary hearing to which the Illinois Court of Appeals determined

    that the "bystander's affidavit" that Carbide tried to utilize was not a bystander's report as

                                                  13
USDC IN/ND case 2:22-cv-00118-TLS-JEM                document 140          filed 03/06/24       page 14 of
                                                   29




   allowed by Supreme Court Rule 352(c) was not permissible under the governing rules.

   The Illinois Court of Appeals wrote 'Carbide's reliance on her own affidavit, attesting to

   her own "interpretation of the evidence and memory as to what happened," is not well

   taken.' 12 The credibility of Carbide's affidavit filed in this case by Carbide's partner in

   crime, Justin M. Ellis, has the same amount of integrity as the affidavit Carbide filed in

   the Illinois case as denounced by the Illinois courts, and .the amount of integrity is ZERO!

   An evidentiary hearing will bear that out without question. 13

     IV. DEFENDANT HAS ADMITTED THAT HE WAS A CASE FIXING JUDGE

           Defendant states 'He [Plaintiff] uses Defendant's name without permission to

    promote his latest book, in which he falsely accuses Defendant of confessing to "fixing"

    a frivolous appeal Plaintiff lost in 1995.' (Docket #129, page 13). In point of fact,

   Plaintiff did not "falsely" accuse Defendant of confessing to "fixing" an appeal, after

   Defendant abruptly retired from the federal judiciary as a judge on the U.S. Court of

   Appeals for the Seventh Circuit purportedly because of his disenchantment with the other


    12
      When it was all said and done, in rejecting Carbide's appeal, the Illinois Court of Appeals
   wrote "For most of Carbide's claims of error, she merely states a legal conclusion and fails to set
   forth any cogent argument or legal support for her position." and put the nail in the coffin of her
   appeal by stating "Carbide offers rto evidence in support of her allegations, and nothing in the
   record supports her claim that the trial judge inappropriately "spoke off the record," "threatened"
   or "misled" Carbide, attempted to prevent Carbide's appeal, or otherwise was biased against her."
   In other words, the Illinois Court of Appeals didn't believe a word Carbide had to say. If this
   Court chooses to hold an evidentiary hearing as to Carbide's statements from her "Declaration",
   without doubt this Court will come to the same conclusion that the Circuit Court of Cook County
   and Illinois Court of Appeals came to after Carbide's submissions were scrutinized, and that
   conclusion will be that Carbide lied in her "Declaration".
    13
      The lies within the "Declaration of Sakina Carbide" constitute a crime of perjury under 18
   U.S.C. § 1621. An evidentiary hearing will bear that out. It is becoming very clear that a pattern
   is beginning to develop on Defendant's end with perjured affidavit statements.

                                                   14
USDC IN/ND case 2:22-cv-00118-TLS-JEM              document 140         filed 03/06/24        page 15 of
                                                 29




   judges on the Seventh Circuit over alleged unfairness issues against pro se litigants and

   after Defendant recruited Plaintiff to work for him, Defendant decided to come with

   Plaintiff and indeed confessed to Plaintiff that he took part in fixing a decision of an

   appeal in favor of Valparaiso Indiana police from a civil rights case as a favor to a

   brethren judge, Michael S ._ Kanne, who had it in for Plaintiff according to the Defendant.

   When Plaintiff reported to the Seventh Circuit the Defendant's confession of the case

   fixing that he took part in, via a judicial misconduct complaint against Michael S. Kanne,

   No. 07-21-90056, the chief judge of the Seventh Circuit, Diane Sykes, was so afraid of

   getting a confirmation from Defendant Richard A Posner as to his case fixing activity in

   fixing the decision as a favor to Michael S. Kanne, that Sykes chose not to contact the

   Defendant Richard A Posner for confirmation of his confession of his case fixing activity

    as he disclosed it to Plaintiff The fact that Sykes chose not to obtain a confirmation or

    denial from the Defendant Richard A Posner as to his case fixing activity, speaks
                                                               \

   volumes as to the cover up of it. After the Seventh Circuit decided to cover up the case

   fixing activities, Plaintiff submitted a petition for review to the Judicial Conference of the

   United States where it remains today without action and has been swept under the rug as

   the Judicial Conference of the United States does not want the public to know about the

    case fixing and is afraid to deal with the case fixing activities that Defendant Richard A

    Posner took part in at the request of a favor from Michael S. Kanne. These are the facts.

              V. THE DEFENDANT RICHARD A POSNER HAS PUBLICLY
                 PROCLAIMED THE FEDERAL JUDICIARY AS "A VERY
                 CRAPPY JUDICIAL SYSTEM" AND HE THEREFORE HAS
                 NO STANDING TO TAKE ISSUE WITH PLAINTIFF'S
                 PUBLIC CRITICISMS OF THE JUDICIARY

                                                 15
USDC IN/ND case 2:22-cv-00118-TLS-JEM                  document 140      filed 03/06/24     page 16 of
                                                     29




            The Defendant argues that_Plaintiff should be sanctioned for "waging a publicity

    campaign against the courts". (Docket #129, page 25). This is hypocrisy of the highest

    possible level in light of Defendant's own personal publicly conducted campaign against

    the courts such as when Defendant publicly proclaimed that "America has a "very bad"

    judicial system and that "we have a very crappy judicial system ... that contaminates much

    of government." https://promarket.org/2017/03/28/richard-posner-real-corruption-

    ownership-congress-rich/. The Defendant has also publicly stated in an opinion piece

    published by Slate on June 24, 2016, "I worry that law professors are too respectful of the

    Supreme Court ... Ithink the Supreme Court is at a nadir. .. " and further wrote "I don't

    think there are any real stars among them. https://slate.com/news-and-

    politics/2016/06/law-school-professors-need-more-practical-experience.html. The

    Defendant publicly proclaimed his disdain for following rules when he told the New

    York Times "I pay very little attention to legal rules, statutes, constitutional provisions,"

    and "When you have a Supreme Court case or something similar, they're often extremely

    easy to get around." An Exit Interview With Richard Posner, Judicial Provocateur - The

    New York Times (nytimes.com). In another interview on March 7, 2018, with Legal

    Talk Network, the Defendant characterized himself as a "maverick" and publicly

    proclaimed his disdain for rules and tradition when he stated "Well, I am a maverick, and

    I don't really like rules, I don't like tradition."

    https ://legaltalknetwork. com/podcasts/chicago-bar/2018/03 /the-ill-be-dreaming-about-

    donkeys-edition-an-interview-with-iudge-richard-posner-ret/


                                                      16
USDC IN/ND case 2:22-cv-00118-TLS-JEM                    document 140            filed 03/06/24   page 17 of
                                                       29




           The Defendant has further gone on public record in stating a judicial ruling need

   not "be supported by 'reason"' and that most "legal technicalities" are "antiquated crap."

   https://lawliberty.org/features/the-mystery-of-richard-posner/. The D_efendant further

   publicly proclaimed that he saw no value to a judge in studying the Constitution.

   https://slate.com/news-and-politics/2016/06/law-school-professors-need-more-practical-

   experience. html. The Defendant has publicly stated that he sees "Absolutely no value" in

   studying the Constitution. https://www.campusreform.org/article?id=777 l. A piece published

   by The Hill on July 11, 2016, stated that "By laying bare is contempt for the Constitution, Posner

   violated his oath of office and permanently stained the honor of the federal judiciary." and

   suggested that "Posner ... quietly resign his seat to a more fitting occupant. .. "

   https://thehill.com/homenews/287228-resign-or-impeach-judge-posner-must-go/

           And to put the Defendant's indifferent attitude in context with respect to his

   current conduct in this litigation insofar -as the claim of breach of contract, the

   Defendant in a youtube presentation in September 2008 titled "Let Us Never Blame a

   Contract Breaker" showed his casual attitude about breach of contract at the 32:39

   mark of the presentation when he stated that he doesn't want to ~ee moral reasoning

   brought into contracts, and at the 49:43 mark of the presentation he stated that judges

   are confused by "moral language", and at the 58:57 mark of the presentation he stated

   'I don't think fair, the word "fair" has any content at all.'" Fault in Contract Law:

   Richard Posner, "Let Us Never Blame a Contract Breaker" - YouTube.

           While this Defendant conducted himse!f in a shameful and disgraceful manner by

   publicly declaring his disdain for governing ·rules, statutes and constitutional provisions,

                                                       17
USDC IN/ND case 2:22-cv-00118-TLS-JEM                        document 140             filed 03/06/24         page 18 of
                                                           29




   notwithstanding his sworn oath to follow and enforce them as a judge, and while the

   Defendant's ethics were so unacceptable when he was a federal judge, he should hardly

   be criticizing Plaintiffs constitutionally entitled right to publicly criticize unfairness and

   corruption issues of the judiciary. To state that the Defendant's criticism within the legal

   brief was out ofline and as hypocritical as could be would be an understatement. But

   that is what desperate defendants and desperate lawyers do when they have no valid legal

   arguments -which is exactly the case here. 14

            VI. EVEN UNITED STATES SUPREME COURT JUSTICE ANTONIN
                SCALIA CHARACTERIZED RICHARD A. POSNER AS A LIAR

            While the Defendant and his lawyers are working overtime to try to wrongfully

   label Plaintiff as a liar, with their distasteful and false innuendos, the reality is that it is

   the Defendant himself, Richard A Posner, who has been characterized as a liar by one of

   the most influential justices of the Supreme Court of the United States, Antonin Scalia, as

   Justice Scalia has publicly stated that Richard A Posner is a liar. In responding to

   statements by Richard Posner in connection to his review of a book authored by Justice

   Scalia, Justice Scalia stated "To say that I used legislative history is simply, to put it

   bluntly, a lie," Scalia told Reuters. https://www.reuters.com/article/usa-court-scalia-

   idCNL1E8KI1RW20l20918/.

            It is unfortunate that the Defendant, Richard A Posner, who after recruiting

   14
      Raising an issue against Plaintiff's constitutionally protected right to criticize the judiciary by borders on
   sensationalism of which issue clearly was brought into the matter to deflect away from the frivolousness of
   Defendant's ill advised motion for sanctions. Someone once famously said "I don't trust the lawyers"; that
   someone was this very Defendant, Richard A. Posner. "The theory of our judicial system is that the
   lawyers pick all the witnesses and make all the arguments, and the judge is just an arbitrator, basically. I
   find that very unsatisfactory, because I don't trust the lawyers." Richard Posner: "The Real Corruption Is
   the Ownership of Congress by the Rich" - ProMarket.
                                                          18
USDC IN/ND case 2:22-cv-00118-TLS-JEM                 document 140          filed 03/06/24      page 19 of
                                                    29




   Plaintiff to work for him and characterized Plaintiff as the "Poster Child" of the Posner

   Center of Justice for Pro Se's and called Plaintiff a "star" while Plaintiff was working

   hard for Plaintiff, but then after stiffing Plaintiff in failing to pay Plaintiff for his work to

   the Defendant, then does a sudden about face, utilizing his lawyers, to try to wrongfully

   demean Plaintiff by attempting to label him as a liar when push comes to shove in trying

   to evade his financial responsibilities to Plaintiff. 15 Justice Scalia had it right when he

   characterized Defendant Richard A Posner as a "liar" as Defendant Posner is showing

   his lying stripes front and center in this litigation by way of his lawyers' distasteful

   chicaneries and skullduggeries.

           VII. EXAMPLES OF SKULLDUGGERY ISSUES BY DEFENDANT

           The Defendant and his lawyers have interjected within their infected Rule 11

   motion several frivolous and untrue issues which Plaintiff will briefly address that will

   demonstrate to the Court just how deep down this Defendant and his lawyers will go to

   win a legal point in an unjustified manner in order to obtain unjustified and unwarranted

   sanctions against Plaintiff. 16



   15
     fu Defendant Posner's 2018 book "Justice for Pro Se's" the Defendant included a section in the
   book titled 'Introducing the "Poster Child" of the Posner Center" where Defendant stated 'The
   "Poster Child" of the Posner Center is Brian Vukadinovich-a non-attorney from Indiana who
   has the distinction of being one of the most successful litigants in modern history.' (See attached
   Plaintiffs Exhibit 2). fu a November 28, 2017 email to Plaintiff, Defendant stated to Plaintiff
   "You're the number one star of my enterprise." (See attached Plaintiffs Exhibit 3). Funny how
   Defendant had such a high opinion of Plaintiff while Plaintiff was providing services to him, but
   then after Defendant reneged on the contract and refused to pay Plaintiff for his services,
   Defendant hires a bunch oflawyers who are on a mission to wrongfully destroy Plaintiffs
   integrity with their demonstrated distasteful tactics in order to win legal points.
   16
    Defendant's memorandum is replete with frivolous issues which Defendant simply cited
   without much, and in some cases, no discussion, simply for the sake of sensationalizing some
                                                   19
USDC IN/ND case 2:22-cv-00118-TLS-JEM                 document 140          filed 03/06/24       page 20 of
                                                    29




           A. Defend ant's False Argument Related to Plaintifr s Successful
              Motion for the Clerk to Not Discriminate Against Him By
              Refusing to Issue Requested Subpoenas

           Defendant and his lawyers apparently have no bounds when it comes to

   submitting false arguments to this Court. In continuing on with the ongoing

   skullduggeries, Defendant states to this Court "While Plaintiffs recent papers are the

   most egregious, Plaintiff has repeatedly filed abusive, frivolous motions since the

   beginning of this case. For example, he baselessly sought an order directing the

   Clerk to stop "discriminating" against him. Dkt. 10;" (Docket #129, page 17). There

   was nothing "baseless" about Plaintiffs motion for an order directing the Clerk to stop

   discriminating against him by refusing to issue requested subpoenas; the Court in fact

   GRANTED Plaintiffs motion on July 1, 2022 and issued an order directing the Clerk to

   issue the requested subpoenas to Plaintiff. (Docket #20). 17

               VIII. THE SO CALLED "ATTACKS" ON DEFENDANT,
                     THIRD PARTIES, COUNSEL, AND THE COURT

           Defendant very foolishly expects Plaintiff to sit back and allow his skullduggeries

   to take place in this litigation in order that Defendant, who proclaims himself to be a



   things which are calculated to somehow cause the Court to have a biased view against Plaintiff
   and his claims in this litigation. Page limitations, make it impossible to address each and every
   nuance and the exorbitant number of pages of exhibits, that overload Defendant's motion.

   17
     As Defendant always does when it comes to Plaintiffs discovery rights in this litigation,
   Defendant attempted to thwart issuance of the subpoenas to Plaintiff stating that Plaintiff's
   motion "may be unripe" and " ... there may be no need to resolve whether Plaintiff may obtain
   subpoenas for use in this case." (Docket# 15, page 2). But the Court did not agree and saw 'it in a
   much different way and ultimately determined that Plaintiff was indeed entitled to the requested
   subpoenas and GRANTED Plaintiffs motion, contrary to what Defendant has blatantly
   misrepresented in his current skullduggery in falsely stating to this Court that Plaintiff's motion
   was baseless. Such skullduggery should not be accepted and this Court should summarily
                                                   20
USDC IN/ND case 2:22-cv-00118-TLS-JEM                document 140          filed 03/06/24     page 21 of
                                                   29




   "maverick" who doesn't like "rules" or "tradition" and who doesn't think the word

   '"fair" has any content at all."' can escape liability for his breach of contract with

   Plaintiff by way of his and his lawyers' skullduggeries and chicanery in this case, but that

   is a very misguided expectation by Defendant. 18

           A. Plaintiffs Citing of Magistrate Judge Kolar's Testimony Before the
              Senate Judiciary Committee Regarding his Testimony that He Always
              Follows Precedent Was Appropriate Since Magistrate Judge Kolar
              Refused to Follow Precedent from this Division

           As for Defendant's characterization that Plaintiff "attacked" Magistrate Judge

   Kolar, i.e., (attacking Judge Kolar for fifteen pages) (Docket #129, page 17), Plaintiff

   would not characterize his detailed criticism in citing Magistrate Judge Kolar' s testimony

   before the Senate Judiciary Senate Judiciary Committee nomination hearing of

   September 6, 2023, where he testified that he follows "binding precedent" but yet did not

   do so in this came when it came to following the binding precedent from this case from

   this division as set in the decisions of Albert's Diamond Jeweler's, Inc., ·v. Aaland

   Diamond Jewelers, LLC, Case No. 2:23-CV-39 JD (September 27, 2023) and Kedron

   Gaston v. Jackie C. Hazeltine, Case No. 3:21-CV-896 JD (August 30, 2022), both of

   which decisions rejected the notion of bifurcated discovery, to which Magistrate Judge



   overrule and deny Defendant's motion for sanctions against Plaintiff.
   18
     Defendant's public proclamation of being a "maverick" who doesn't like "rules" or "tradition"
   and who doesn't think the word '"fair" has any content at all."' May be seen at
   https ://legaltalknetwork. com/podcasts/chicago-bar/2018/03/the-ill-be-dreaming-about-donkeys-
   edition-an-interview-with-judge-richard-posner-ret/. Defendant's public statement that he doesn't
   think the word "'fair" has any content at all.'" may be seen at the 5 9 :31 mark of the
   presentatio~. Fault in Contract Law: Richard Posner, "Let Us Never Blame a Contract Breaker" -
   YouTube. •

                                                  21
USDC IN/ND case 2:22-cv-00118-TLS-JEM               document 140         filed 03/06/24      page 22 of
                                                  29




   Kolar ignored as an "attack" as Defendant incorrectly portrays it, but a factual statement

   as to Magistrate Judge Kolar' s verbatim testimony. Plaintiff had every right to raise the

   issue of Magistrate Judge Kolar's refusal to follow the precedent from those cases

   especially in light of his contrary testimony to the Senate Judiciary Committee when he

   repeatedly testified that he follows binding precedent but would not do so in the instant

   case here by his refusal to follow the precedents from Diamond Jeweler's, Inc., v. Aaland

   Diamond Jewelers, LLC, Id, and Kedron Gaston v. Jackie C. Hazeltine, Id 19

          It is unfortunate that the Defendant, a former federal judge no less, has such

   disrespect for free speech. Plaintiff was well within his rights to point out the problems

   with Magistrate Judge Kolar' s testimony before the Senate Judiciary Committee since it

   was at odds with how he conducted himself in the instant case with respect to following

   binding precedent. The Supreme Court of the United States has made it crystal clear that

   truthful reports of public judicial proceedings have been afforded special protection

   against subsequent punishment. Nebraska Press Ass 'n v. Stuart, 427 U.S. 539 (1976) see

   Cox Broadcasting Corp. v. Cohn, 420 U.S. 469, 420 U.S. 492-493 (1975) see also Craig

   v. Harney, 33 l U.S. 367, 331 U.S. 374 (1947). The Supreme Court made clear "With

   respect to judicial proceedings, in particular, the function of the press serves to guarantee

   the fairness of trials and to bring to bear the beneficial effects of public scrutiny upon the


   19
     A verbatim listing of Magistrate Judge Kolar' s testimony to the Senate Judiciary Committee
   that he follows binding precedent may be seen in Plaintiff's Supplemental Brief on the
   Bifurcation Issue, pages .8-13. (Docket #101). The various questions by the senators and
   Magistrate Judge Kolar's responses to the questions may be seen in the Senate Judiciary
   Questionnaire https://www.judiciary.senate.gov/imo/media/doc/09-06-2023 - qfr responses -
    kolar.pdf. The video of Magistrate Judge Kolar's testimony before the members of the Senate
   Judiciary Committee may be see at https://www.youtube.com/watch?v=tLtHJiw7tzO.
                                                 22
USDC IN/ND case 2:22-cv-00118-TLS-JEM                 document 140          filed 03/06/24       page 23 of
                                                    29




   administration of justice." Cox Broadcasting Corp. v. Cohn, 420 U.S. 469 (1975), see

   Sheppardv. Maxwell, 384 U.S. 333,384, U.S. 350 (1966)

           B. Defendant Is Out of Line in Characterizing Plaintiff's
              Inquiry of the Court's Inordinate Time Period for Ruling
              as to Defendant's Motion to Dismiss as "Egregious"

           Defendant writes that ' ... he filed a "memorandum" accusing the Court of"sitting

   on the ruling on the motion to dismiss, Dkt. 47 at 4-5"'. Docket #129, page 17.

   Defendant of course conveniently failed to discuss the circumstances of the motion, of

   which circumstances were that at the time that Plaintiff filed his "Plaintiffs

   Memorandum to Court Regarding Inordinate Time Period for Ruling" on April 19, 2023,

   that in just a few days from then it was going to be eight months since Defendant filed his

   motion to dismiss which was filed on August 22, 2022 (Docket #33) and that there had

   been no ruling issued. 20 As the Court is aware, on June 21, 2023 the magistrate judge

   denied Defendant's motion to dismiss Counts I and II (Docket #65) to which the

   Defendant objected on July 5, 2023 (Docket #65), to which Judge Springmann overruled

   Defendant's objections in an order on September 25, 2023. (Docket #74). Defendant has




   20
      Defendant's interjection of this issue is quite suspect in taking issue with Plaintiffs
   concern that there had been no ruling as to the motion to dismiss for eight months.
   Defendant's interjection of this issue is suspect under the circumstances because the
   Defendant here, Richard A. Posner, as a judge, was highly critical of a district judge who had
   held motions for summary judgment under advisement for eight months of which motions were
   then referred to a magistrate where they remained for another seven months to which the district
   judge took another four and a half months to rule. The very Defendant here, as a judge,
   admonished that "There is no justification for such delay. It is time that the district judge took
   firm control of this case and guided it to a swift conclusion. The governing principles are
   clear, ... " Nelson, Jr. v. Streeter, 16 F.3d 145 (7th Cir. 1994). And yet, again in his typical
   hypocritical fashion, complains about things that he as a judge previously denounced.

                                                   23
USDC IN/ND case 2:22-cv-00118-TLS-JEM             document 140         filed 03/06/24      page 24 of
                                                29




   no justification to even suggest that Plaintiffs memorandum was "egregious", let alone

   make such a ridiculous and frivolous argument.

          C. The Unnamed "Third Party" that Defendant Seeks to Protect is a
             Murderer Who Bludgeoned His Father to Death Who Purports to
             Be a "Close Friend" of Defendant and Defendant's Family

         • Defendant writes in his memorandum in support of motion for sanctions against

   Plaintiff "The docket overflows with Plaintiffs vitriol against the Court, Defendant,

   third parties, and counsel." [emphasis added] (Docket #129, page 28). Presumably the .

   unnamed third party is William Bond, who according to an Opinion by the U.S. Court of

   Appeals for the Fourth Circuit, 317 F.3d 385 (4th Circuit 2003), is a deranged societal

   misfit who changed his name after beating his grandfather to death with a hammer who

   by ex parte email to this Court on April 20, 2023, purports to be a "close friend" of

   Defendant Posner and his wife, Charlene, and "His sons too" who according to an

   Opinion by the U.S. Court of Appeals for the Fourth Circuit, 317 F .3 d 3 85 (4th Circuit

   2003). A documented murderer who purports to be friends of the Defendant and his

   family are not deserving of any protections by this Court, irrespective of what

   Defendant's attorneys may complain about when it comes to Plaintiffs addressing of ex

   parte emails to this Court from a murder who purports to be a "close friend" of

   Defendant Posner and his family.

                       IX. DEFENDANT'S MOTION IS FRIVOLOUS

   Defendant well knows his arguments are frivolous. At page 22 of his motion he writes

   "If the Court finds that Rule 11 does not reach any of Plaintiffs misconduct, it should

   invoke its inherent powers to impose sanctions." In other words, Defendant wishes that

                                                24
USDC IN/ND case 2:22-cv-00118-TLS-JEM              document 140        filed 03/06/24     page 25 of
                                                 29




   this Court will go ahead and unfairly punish Plaintiff even though Plaintiff did not

   commit any Rule 11 violations. Clearly, the Defendant's motion is brought in bad faith

   and this Court should issue an appropriate sanction against Defendant and his lawyers for

   such abuse of process of which abuse of process is more than evident here.

   Rule 11 of the Federal Rules of Civil Procedure provides that if an attorney files

   pleadings that are not reasonably based.on the law or in fact, or that are meant to

   harass, then "the court upon motion or upon its own initiative, shall impose ... an

   appropriate sanction." Fed.R.Civ.P. 11. (emphasis added); see Robinson v. National Cash

   Register Co., 808 F.2d 1119, 1130, (5th Cir. 1987). If the district court concludes that the

   motion, pleading, or other document was not well-grounded in fact or warranted by the

   existing law, or was meant to harass, then the court must impose a sanction. See, e.g.,

   Szabo Food Service, Inc. v. Canteen Corp., Id.; Thomas v. Capital SecurUy Services, Inc.,

   Id; Shrock v. Altru Nurses Registry, Id; Golden Eagle Distrib. Corp. v. Burroughs Corp.,

   Id) (citing Eastway Construction Corp. v. City ofNew York, Id; cf In re TCI Ltd, Id.

                                  X. CONCLUSION


          The Court should summarily overrule and deny Defendant's motion for sanctions.

                                                 Respectfully submitted,



                                                 Brian Vukadinovich, Pro Se
                                                 1129 E. 1300 N.
                                                 Wheatfield, Indiana 46392
                                                 (219) 956-2462




                                                25
USDC IN/ND case 2:22-cv-00118-TLS-JEM            document 140          filed 03/06/24       page 26 of
                                               29


                                Foreword by Richard A. Posner,
            -Retired ]11dge ef United States Court efAppeals for the 7'h Circuit, Chicago

           "Brian. Congratulations on your victory. It's a rare one indeed. It's easy to
                          see how this story could become a film."
                     -Scott Ttaow, Acclaimed author ef "Presumed In11oce11t"

           "Brian congratulations on your victory, you have gone against the age old
               saying an attorney who represents himself has a fool for a client."
                 -Robert Shapiro, Member cf "Dream Team" in OJ. Simpson Trial




     BRIANVUKADINOVICH
              A true story about a teacher's one man fight for justice for his freedom
            and for his right to work fighting and beating corporate and governmental
                               lawyers in court by representing himself



                                                                                                   I
USDC IN/ND case 2:22-cv-00118-TLS-JEM             document 140           filed 03/06/24   page 27 of
                                                29                                                                         "'ia. ...
                                                                                                                           11._
                                                                                                                           i=m
                                                                                                                           z-
                                                                                                                           _:z:
             - 80 -                                          Jt:STICE FOR PRO St':
                                                                                                                           ......
                                                                                                                           •><
                                                                                                                           A.
                                                                                                                          ·r 'N 'eu"oA.. OYONJd

             Brian's Futu re                                                                    ... in my case tht'
                                                                                                way he could to :
                   Brian is brilliant, but he is also colorful, as brought out ir               judge had alrca.::
             this description of his plans and opportunities by Jonathan Zel:                   ;peaking) that I ,
             Brian's and my colleague .in the Posner Center of Justice for Pre                  several very bia.:,.
             Se's:                                                                              important evide:-
                                                                                                would be able tc
                         Introducing the uPoster Child,,.                                       ed, pro-govcrnmt
                                                                                                spread problem-
                              of the Posner Center
                                                                                                However, my r::
                  The "Poster Child" of the Posner Center is Brian Vukadi-
                                                                                                poinfment in Lh~
            novich-a non-attorney from Indiana who has the distinctior
                                                                                                see what was go:-
            of bl!.ing one of the most successful pro se litigants in moderr
                                                                                                A.nd, thank God
            history . Brian is also one of tvvo Executive Directors of the Po:c--
            ncr Center (the other one being attorney Jonatha n Zell).
                                                                                                  I [Posner] agree
                  In his earliest major pro sc case, a federal case, Brian, th :
            plaintiff, suing the public school system that had fired him                     """Y judges lreat pr
                                                                                             e :-rose's d on't e\'t~:
            su ed and in the suit defealed a team of 5 attorneys led by the
                                                                                           _,:::es, juries tend t0 '.:
            "Am Law 200" law firm of Frost Brown Todd, winning a jury
            verdict of $203,840 that made head Iines na tionwidc. And Briar                    :1gainst a gaggle o:
                                                                                                  To make pro s~~
            did all of this-despite never having attended even one day o~
            law school -by representing him.self!                                           -..an, can represent :
                                                                                             ~ .=JKe, Jonathan Ze:
                  That, of course, is w hat the Posner Center ofJustice for Pre
            Se's hopes to duplicate with hundreds, if not thousands, of oth•                 -~1-"atTica I reenactmt:'
                                                                                            - ...ind the U.S. Unt,
            er prose litigants throughout the country. By helping deservin§:
            pro sc's to represent themselves in court (the way that Briar.
                                                                                           r i later read about 5
                                                                                               -:,m for Justice- / a-:.
            did), we hope to make justice available for everyone-not jus:
            those who can afford expensive lawyers.                                           _-:tps://motionforj11£
                                                                                                  Here is a brief S\
                  However, neither whal Brian did nor what the Posne,
            Center hopes to accomplish is easy. Besides having to convinet::
                                                                                                Rich in informat
            a jury in the rightness of one's cause, prose's also have to dea_
                                                                                                Ctise shares Bria
            with judges who are often indifferent or hostile lo them. As Br:-
                                                                                                intimate know!(;
            an explains:
                                                                                                corrnption and •
USDC IN/ND case 2:22-cv-00118-TLS-JEM          document 140       filed 03/06/24      page 28 of
                                             29

    Re: Review of Your Book
    RP
            Richard Posner <rposner62@gmail.com>

           To:You
                                                                      Tue 11/ 28/2017 8:07 PM
    Thanks so much, Brian!



    P.S. You 're the number one star of my enterprise, but I think I have a number 2. This
    is a woman who is not a lawyer (in this respect like you) but an extremely
    experienced office manager who has worked for a variety of federa l and state
    agencies. She is very smart, very hard working, very hostile to my bete noire Chief
    Judge Wood before whom she a case very unfairly, and I think will be a superb office
    manager for our firm.

    PP.S. When she was four years old, she lived on a farm in Germany with her family--
    her father was in the army. There were smal l pigs on the farm and she liked to pinch
    them. They took it for a while and then got angry and chased her! They nipped at
    her but didn't actually bite her. There's a lesson there!



    Dick




                                                                                       ~


                                                                                       z   PLAINTIFF'S
                                                                                       r    EXHIBIT
                                                                                       ,; 3
                                                                                       ~

                                                                                      :"
USDC IN/ND case 2:22-cv-00118-TLS-JEM           document 140        filed 03/06/24    page 29 of
                                              29




                                CERTIFICATE OF SERVICE

   The undersigned certifies that on March 6, 2024, the foregoing was sent to the Clerk of
   the United States District Court for the Northern District oflndiana, Hammond Division,
   via U.S. Postal Service and was also served via email pursuant to Fed. R. Civ. P.
   5(b )(2)(E) on the Defendant's below listed counsel ofrecord per agreement to receive
   such papers via email.

                                Justin M. Ellis
                                j ellis@mololamken.com

                                Steven F. Molo
                                smolo@mololamken.com

                                Kenneth Notter
                                knotter@mololamken.com

                                David Beach
                                dbeach@eichhorn-law.com



                                                   fL»,~/
                                              Brian Vukadinovich, Pro Se
                                              1129E. 1300N.
                                              Wheatfield, IN 46392
                                              Tel. (219) 956-2462




                                              26
